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          EXHIBIT 18
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                                                                                                              Ronit J. Berkovich
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February 7, 2020                                                                                       Ronit.Berkovich@weil.com




                                         CONFIDENTIAL
                       SUBJECT TO FRE 408 AND ALL STATE LAW ANALOGUES


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Re: Indemnification Proposal

Dear Rick and Jeff:

I am writing to follow up on J&J’s indemnification proposal in connection with potential liabilities
associated with current and future claims against Imerys alleging injuries from the use of J&J products
containing talc supplied by Imerys (the “Talc Claims”).1

At the outset, I note that the Debtors have demonstrated almost no desire to cooperate with J&J with regard
to the resolution of the Talc Claims and have excluded J&J from meaningful participation in the
negotiation or defense of the Talc Claims. As you are aware, prior to Imerys filing for bankruptcy in
February 2019, J&J engaged in good faith negotiations with the Debtors in an attempt to reach a resolution
regarding potential indemnification obligations under the 1989 Stock Purchase Agreement. Specifically,
between June and December of 2017, J&J attended two meet and confers with Imerys to discuss the
Debtors’ indemnification demands. In January 2018, J&J sent an indemnification proposal to the Debtors.
Subsequently, in February 2018, during a telephone conference with the Debtors, J&J agreed to attend

1
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in our letter to you
     dated November 1, 2019.



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mediation. In July 2018, J&J participated in mediation with the Debtors, but the parties were unable to
reach an agreement. Subsequently, J&J attended yet another mediation with the Debtors in September
2018, but again, the parties did not reach an agreement.

Since the Debtors commenced their chapter 11 proceedings, the Debtors have (i) refused to cooperate with
J&J’s efforts to transfer venue of all underlying Talc Claims against Imerys and J&J to Delaware; (ii)
rebuffed J&J’s repeated requests for information regarding any analysis of the Debtors’ exposure to
liability from the Talc Claims; and (iii) ignored J&J’s demand to be included in the Debtors’ negotiations
with the Parent, the TCC, the FCR, and other third parties.

Furthermore, the Debtors have failed to respond substantively to J&J’s correspondence dated November
1, 2019, whereby J&J set forth principles for the negotiation of an agreement to settle all indemnification
obligations between J&J and the Debtors in connection with the Talc Claims. By letter dated December
3, 2019, J&J expressed its position that the relevant Supply Agreements and Sales Purchase Agreements
between the Debtors and J&J bestow J&J (as an indemnifying party) with control over the decision to
settle any covered lawsuit – i.e,, any settlement by the Debtors involving the Talc Claims requires J&J’s
consent. At that time, J&J stated that in light of its offer to indemnify and defend the Debtors in the
litigation of the Talc Claims, J&J would view the Debtors’ pursuit of a settlement in the absence of J&J’s
approval as unreasonable, in bad faith, and as an action that would negate any obligation J&J might
otherwise have to indemnify the Debtors or any assignee of the Debtors’ purported indemnity rights.
Nevertheless, the Debtors have continued to pursue a settlement with their corporate Parent, the TCC, and
the FCR, at the exclusion of J&J.

The conduct described above repudiates J&J’s rights under Section 11.4 of the 1989 Stock Purchase
Agreement. Accordingly, with this letter, and without giving up any rights J&J might have as a result of
the Debtors’ actions to date, J&J demands that the Debtors permit J&J to participate in any settlement
negotiations and discussions that may impact J&J’s liability on account of Talc Claims, as well as allowing
J&J access to the previously requested information about any prior discussions and negotiations with the
TCC and the FCR.

Despite the Debtors’ ongoing failure to engage with J&J’s efforts to negotiate, J&J remains committed to
achieving a global resolution of the indemnity dispute related to the Talc Claims. Regardless of what may
have transpired in the recent or extended past, J&J believes that it can provide the Debtors with an exit
from these chapter 11 cases by resolving what J&J understands to be the vast majority of the Debtors’
liabilities that will preserve J&J’s rights, as well as the rights of other parties in interest, including the
TCC and the FCR. To that end, J&J is attaching a term sheet as Exhibit 1 hereto that substantially lays
the groundwork for a resolution of all Talc Claims in which J&J is a co-defendant against the Debtors.

The Term Sheet represents a solution that should be even more appealing to the Debtors than J&J’s
principles set forth in November as (i) J&J will be indemnifying the Debtors for all Talc Claim liabilities
that allege use of J&J’s products and (ii) J&J will provide a full indemnity to Imerys S.A. for the same


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liabilities. This Term Sheet provides for a significant expansion of even the most generous interpretation
of J&J’s alleged contractual indemnification obligations to the Debtors while erasing all claims that J&J
may have against the Debtors. J&J is sharing the Term Sheet with counsel to Imerys S.A. concurrently.

 As the Debtors allegedly filed for chapter 11 protections because of overwhelming Talc Claim liability
(and, according to the Debtors’ own pleadings, due in large part to J&J’s alleged refusal to indemnify the
Debtors), immediate acceptance of J&J’s proposal is the only reasonable response to J&J’s offer to remove
the circumstances causing the Debtors’ financial distress. J&J is hard-pressed to think of any good faith
resolution that the Debtors could possibly reach at this stage in the chapter 11 cases that provides a better
outcome to the Debtors and Talc Claimants than J&J’s proposal, and J&J will closely scrutinize any
attempt by the Debtors to skirt their fiduciary duties and act in a manner inconsistent with the goals of the
Bankruptcy Code.2

While J&J wishes to advance this dialogue to a consensual resolution, if the Debtors fail to respond
promptly to J&J’s Term Sheet or refuse to agree to allow J&J to both participate in any negotiations or
discussions that may resolve Talc Claims involving J&J, including with the TCC, the FCR, and the
Parent in a material manner and to assume the defense of all claims, J&J will be forced to file a motion
to lift the automatic stay, to the extent applicable, to assume the defense of the Talc Claims, as is its
right under the 1989 Supply Agreement.

 Additionally, I would like to respond to the Debtors’ suggestion that they require an even broader
indemnity offer from J&J before they start negotiating such an offer in earnest (i.e., that J&J foot the bill
for all talc claims, including those that do not allege use of J&J’s products). This would significantly
expand, without any contractual basis, J&J’s obligations. For J&J to begin to consider what the Debtors
have suggested, J&J requires, at a bare minimum, certain information and documents from the Debtors,
much of which the Debtors are already obligated to provide under the 1989 Agreements. Specifically,
and without waiving J&J’s rights to receive the documents requested in Exhibit B to the 2004 Motion,
J&J requires the following information and documents immediately:3




2
     Furthermore, while J&J is proposing to indemnify the Debtors substantially notwithstanding its firm belief that no J&J
     products were defective or contaminated in any way, were Imerys to take a contrary position in the bankruptcy by
     agreeing to pay any amounts on account of Talc Claims based on contrary allegations, this conduct would
     automatically vitiate any obligations on J&J’s part to indemnify or otherwise contribute or expend resources to Imerys
     on account of the Talc Claims and would automatically trigger Imerys’s contractual and equitable obligations to J&J.
3
     Capitalized terms used but not otherwise defined in the following paragraphs shall have the meaning ascribed to such
     terms in Johnson & Johnson’s and Johnson & Johnson Consumer Inc.’s Motion for an Order Pursuant to Bankruptcy
     Rule 2004, Case No. 19-10289 (LSS) (Bankr. D. Del. June 26, 2019) [ECF No. 750] (the “2004 Motion”).



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          1. All Documents and Communications relating to any settlement history between the Debtors
          and any Talc claimants, including all settlement agreements, claim information sheets, and claim
          summaries.

          2. Any and all Documents, Communications, Analyses, Models, estimates, or projections
          conducted by or on behalf of the Debtors relating to the Debtors’ potential liability or exposure
          to Talc Claims where such claims are alleged to involve J&J products.

          3. Any and all Documents, Communications, Analyses, Models, estimates, or projections
          conducted by or on behalf of the Debtors relating to the Debtors’ potential liability or exposure
          to Talc Claims where such claims are not alleged to involve J&J products.

          4. Any and all Documents or Communications relating to non-J&J related Talc Claims that have
          been brought against Imerys including number of claims, claim information sheets, claim
          summaries, demographic information of plaintiffs, plaintiff work histories, allegations, demands,
          and co-defendants.

Please contact me at your earliest convenience to respond to J&J’s Term Sheet and document requests so
that J&J can engage in discussions with the Debtors, the Parent, the TCC, and the FCR.

Sincerely,

/s/ Ronit J. Berkovich

Ronit J. Berkovich, Esq.


cc:
Gary T. Holtzer, Esq.
Diane Sullivan, Esq.
Theodore E. Tsekerides, Esq.
Konrad L. Cailteux, Esq.
Debora A. Hoehne, Esq.




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                                              Exhibit 1


                                     Indemnification Term Sheet




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                                               CONFIDENTIAL SETTLEMENT PROPOSAL
                                      SUBJECT TO FRE 408 AND STATE LAW EQUIVALENTS




                                   JOHNSON & JOHNSON

                 Summary of Term and Conditions for Global Resolution
                with Imerys S.A. and Imerys Talc, America and its Affiliates

                                        February 7, 2020


This Summary of Terms and Conditions (the “Term Sheet”) has been prepared for negotiation
purposes to settle all indemnification obligations between Johnson & Johnson (collectively with
Johnson & Johnson Consumer, Inc. and its corporate predecessors, affiliates, and subsidiaries,
“J&J”), Imerys S.A., and Imerys Talc America, Inc. and its debtor affiliates and subsidiaries
(collectively, “Imerys” and, along with J&J and Imerys S.A., the “Parties”) in connection with
potential liabilities associated with current and future claims against Imerys alleging personal
injuries caused by the use of J&J products utilizing talc supplied by Imerys (each, a “Talc Claim”
and, collectively, the “Talc Claims”). This Term Sheet is subject to (i) formal documentation that
will supersede any prior indemnity agreements between J&J and Imerys, (ii) approval by
authorized representatives of J&J, Imerys S.A., and the Debtors, and (iii) approval by the
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).


                                     Indemnification Terms
  Indemnified Claims               J&J agrees to indemnify Imerys fully for, assume the defense
                                   of, and assume all costs of litigation for all Talc Claims where
                                   plaintiffs allege use of J&J/talcum powder products prior to
                                   January 1, 2020, (the “Covered Period”) and where Imerys has
                                   not reached a final resolution (e.g., a settlement has been
                                   entered or a non-appealable final judgment has been entered
                                   against Imerys in a court of competent jurisdiction) as to such
                                   Talc Claim by the Effective Date (as defined below) (such Talc
                                   Claims within the Covered Period, each an “Indemnified
                                   Claim” and, collectively, the “Indemnified Claims”).

                                   J&J will also fully indemnify Imerys S.A. to the same extent as
                                   it is indemnifying Imerys.

                                   J&J shall not be responsible for any portion of any judgment
                                   rendered against a party other than Imerys, Imerys S.A., or J&J.

                                   J&J shall not have liability to Imerys, Imerys S.A., any of their
                                   affiliates, or any plaintiff for any Talc Claims against Imerys or
                                   Imerys S.A. that are not Indemnified Claims.
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                               SUBJECT TO FRE 408 AND STATE LAW EQUIVALENTS


Implementation;            To accomplish the foregoing, the Parties shall enter into
Effective Date             definitive documentation memorializing this Term Sheet (the
                           “Indemnification Agreement”).

                           As soon as reasonably practical following the execution of the
                           Indemnification Agreement by the Parties, Imerys shall file a
                           motion with the Bankruptcy Court (i) seeking approval of its
                           entry into the Indemnification Agreement and (ii) lifting the
                           automatic stay with respect to all Indemnified Claims (the
                           “Motion”).

                           The Indemnification Agreement shall not become effective
                           until the entry by the Bankruptcy Court of an order (the terms
                           and substance of which have received J&J’s consent, with such
                           consent not to be unreasonably withheld) granting the relief
                           requested by the Motion (the “Approval Order” and the date
                           upon which the Bankruptcy Court enters the Approval Order,
                           the “Effective Date”).

Assumption of the          J&J will assign counsel and otherwise effectuate complete
Defense                    control of strategy and decisions in all respects of the defense
                           of the Indemnified Claims.

Right to Settle            J&J has the right to settle any Indemnified Claim without
                           Imerys’s consent.

                           Imerys’s liability for any individual Indemnified Claim or
                           Indemnified Claims shall be determined solely by (i) a final
                           adjudication of such Claim on the merits by a court of
                           competent jurisdiction or (ii) by settlement in J&J’s sole
                           discretion; provided, however, that nothing in this Term Sheet
                           shall be construed to waive any rights J&J may have to contest
                           the appropriateness of a judicial forum on the grounds of lack
                           of venue or subject matter or personal jurisdiction.

                           Imerys shall not propose any chapter 11 plan of reorganization
                           (a “Plan”) that contemplates any treatment of any Indemnified
                           Claim(s) other than as an unimpaired class pursuant to the terms
                           of section 1124(1) of title 11 of the United States Code (the
                           “Bankruptcy Code”); provided, however, that to the extent that
                           Imerys has already filed a Plan prior to the execution of the
                           Indemnification Agreement, such Plan providing for impaired
                           treatment of any Indemnified Claim(s) will be stayed upon
                           execution of the Indemnification Agreement and withdrawn
                           immediately upon entry of the Approval Order and/or amended
                           within three (3) days of entry of the Approval Order to provide
                           that the Indemnified Claim(s) will be treated in accordance with
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                                       CONFIDENTIAL SETTLEMENT PROPOSAL
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                          section 1124(1) of the Bankruptcy Code.

                          Neither Imerys nor Imerys S.A. will settle any Indemnified
                          Claims after the execution of the Indemnification Agreement.

Waiver of Claims          Imerys and Imerys S.A. agree to waive any remedy available to
                          Imerys or to Imerys S.A. against J&J in the chapter 11 cases.

                          J&J agrees (i) to waive any claim, right to setoff, or other
                          remedy it may have against Imerys or Imerys S.A. in respect of
                          the Indemnified Claims and any indemnification claims against
                          Imerys for Talc Claims, and (ii) to withdraw the proofs of claim
                          it has filed in the chapter 11 cases.

Cooperation               Imerys and Imerys S.A. agree to fully cooperate with J&J in the
                          defense of the Indemnified Claims, including by making
                          relevant documents available to J&J (pursuant to common
                          interest privilege), making employees and management of
                          Imerys readily available to J&J, and promptly responding to any
                          requests for information from J&J.

J&J’s Insurance           Imerys and Imerys S.A. agree to cooperate with J&J on making
Proceeds                  claims under any insurance policies held by J&J that may cover
                          the Indemnified Claims.

                          Imerys assigns to J&J its rights, if any, to access J&J’s
                          insurance policies to the extent J&J did not or does not already
                          possess such rights.

Imerys’s Insurance        To be discussed.
Proceeds
